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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                               CRIMINAL NO. 09-10183-GAO

                              UNITED STATES OF AMERICA,

                                               v.

                                    DEREK CATALANO,
                                        Defendant.


                                   FINDINGS AND ORDER
                                      January 11, 2011

O’TOOLE, D.J.

       The defendant, Derek Catalano, has filed three separate motions to suppress evidence.

After hearing and on consideration of the parties’ evidence and arguments, the following orders

are made with respect to the motions.1

I.     Motion to Suppress III (Statements) (dkt. no. 89)

       The defendant seeks to suppress statements made to Drug Enforcement Agency (“DEA”)

task force agents who came to his residence on the night of May 14, 2009. After an evidentiary

hearing, I find the following facts and make the corresponding conclusions of law:

       At about 9:45 p.m. on May 14, 2009, DEA task force agents went to 63 Earle Street, Fall

River, looking to speak with the defendant Catalano, who they believed resided there. When no

one answered their knocking on the door, they reached Catalano by telephone. He was in the

second floor apartment of the two-family residence, where his father lived, and he came down

and opened the door. With Catalano’s permission, the agents entered the common entrance

vestibule of the two-family house. The agents told him that, as they spoke, a search warrant was

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  The motions are considered in the order in which they appear on the docket, not in the order
indicated in their captions.
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being executed at the premises of Catalano’s business, D & C Specialty Detailing, located at

1451 South Main Street, Fall River.

       Catalano’s father, Carl Soares, came down and invited the agents to come in to the

upstairs apartment. The agents, Soares, and Catalano all sat casually in the open kitchen and

living room area. An agent read Catalano his Miranda rights from a preprinted card, even though

the agents had not placed him in custody. Catalano acknowledged that he understood his rights,

but he declined to sign a form to that effect.

       The parties dispute whether Catalano was in “custody” for Fifth Amendment purposes. I

find, on the evidence adduced at the hearing, that he was not. It appears that Soares, apparently

unaware of any participation by his son in drug trafficking, was seeking to cooperate with the

agents and encouraging his son to do likewise. In particular, when the agents asked Catalano if

he would consent to a search of his first floor apartment, where he lived with his girlfriend,

Soares encouraged him to agree and allow the search. Catalano refused, however, and eventually

gave the agents as a reason that they might find some marijuana and related paraphernalia that

belonged to his brother.

       Despite his refusal to consent to a search of the first-floor apartment, Catalano otherwise

cooperated by talking with the agents. In particular, when the agents received a call from other

agents exercising the search warrant at the D & C business premises, Catalano responded to

questions by directing the agents to a place at that business where they might (and actually

thereafter did) find a large sum of money hidden away.

       Without rehearsing the evidence in detail, I find that the statements Catalano made to the

agents were made voluntarily, with an intelligent and informed understanding of his right to

refuse to answer questions. Indeed, the evidence indicated that Catalano cooperated and provided



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information when he chose to do that, and refused to cooperate and stood on his rights when he

chose to do that, such as by refusing to consent to a search of the first-floor apartment, even with

his father urging him to do so. His will was not overborne by the agents.

       For these reasons, there is no reason to suppress the statements he made to agents that

night. The statements were not the product of a custodial interrogation, and they were made

voluntarily. The motion to suppress the statements is DENIED.

II.    Motion to Suppress Physical Evidence II (Search Warrants) (dkt. no. 91)

       The defendant also seeks to suppress evidence seized as a result of the execution of

search warrants at 63 Earle Street, his residence, and at D & C, his place of business.

       A crucial assertion in the affidavit that led to the issuance of the state warrant for the

search of the defendant’s apartment at 63 Earle Street was that the defendant had told agents that

there was some marijuana and drug paraphernalia to be found there. The defendant urges that the

warrant application was defective in that that information had been unlawfully obtained. For the

reasons set forth above, the defendant’s statement that marijuana was likely to be found in the

first floor apartment was not the product of coercive custodial interrogation, and it was not

improper for the agents to rely on that statement in seeking the warrant. The fruits of that search

will not be suppressed.

       The defendant asserts several reasons for suppressing the fruits of the search at the D & C

business premises at 1451 South Main Street. He argues that the information in the affidavit in

support of the issuance of the warrant about those premises was too “stale” and did not

sufficiently establish a “nexus” between the drug distribution activity and the premises. The

arguments are related, because information that is too stale may weaken the inference of nexus.




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       Here, a transaction that took place at D & C on April 22 was one of a series in which

Catalano was allegedly involved over a number of months, as indicated by information from a

confidential source and from wiretaps. Drug trafficking can be episodic, with intervals occurring

even during the course of regular ongoing activity. A three or four week interval does not make

the most recent episode stale if an inference is fairly drawn that the defendant’s participation—

and thus his possession of incriminating evidence—is ongoing. See United States v. Feliz, 182

F.3d 82, 87 (1st Cir. 1999). Such is the case here.

       However, while the information in the affidavit was sufficient to support a reasonable

inference that Catalano was still involved in the conspiracy as of May 14, it was relatively weak

as to the proposition that evidence of his participation might be found at the business premises on

South Main Street. Obviously, Catalano could be associated by inference with the premises, but

the inference that the business was a place where evidence of the criminal activity might be

found was said to rest on the fact that Aguiar allegedly delivered drugs to Catalano there on one

occasion. There was no information in the affidavit to indicate whether that was another instance

of a routine practice or an aberrational departure from routine. Perhaps a weak inference could

arise from the fact that, because Catalano was a regular participant in the conspiracy, evidence of

the crime could be found wherever he regularly was. It is not implausible, of course, that

Catalano’s business premises would serve as a place where he would “stash” drugs and/or drug-

related cash and records. Nevertheless, on the information presented in the affidavit, concluding

that is more of a speculation than an inference.

       Unfortunately for the defendant, however, the “good faith exception” announced in

United States v. Leon, 468 U.S. 897 (1984), applies and forecloses suppression of the evidence

seized from 1451 South Main Street, even if the affidavit was inadequate to establish the



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necessary nexus. “Under Leon, the good faith exception applies when government agents rely on

a warrant in objective good faith and in the interest of justice suppression is generally

inappropriate.” United States v. Woodbury, 511 F.3d 93, 99 (1st Cir. 2007). The recognized

exceptions to the good faith exception are here inapplicable. In particular, the affidavit was not

“so lacking in indicia of probable cause as to render official belief in its existence entirely

unreasonable,” nor the warrant so “facially deficient . . . that the executing officers [could not]

reasonably [have] presume[d] it to be valid.” Id. (quoting Leon, 468 U.S. at 923).

       The defendant next argues that the warrant was unlawfully executed because the

execution—and the discovery of relevant evidence—occurred after the hours authorized by the

warrant. The warrant limited execution to between the hours of 6:00 a.m. and 10:00 p.m. Even if

once it might have been uncertain when the execution of the warrant actually began, evidence at

the hearing established clearly that the execution had commenced before 10 p.m., within the

authorized limits. The fact that the search, timely commenced, continued beyond 10 p.m. does

not invalidate the search in the absence of factors making the continuation of the search

“unreasonable” under all the circumstances. See United States v. McCarty, 475 F.3d 39, 43-44

(1st Cir. 2007). No such factors were shown. The business was closed at the time of the search,

so there was no disruption of ordinary business and no employees were inconvenienced.

Continuation of the search past 10 p.m. was reasonable in the circumstances.2

       The motion to suppress evidence from the searches at 63 Earle Street and 1451 South

Main Street is DENIED.




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  The restriction to “daytime” execution is presumably for the benefit of the occupants of the
premises to be searched. The defendant’s suggestion that neighbors might have been disturbed
by the noise of the search—there was no evidence of actual disturbance—is thus irrelevant.
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III.   Motion to Suppress Physical Evidence I (Electronic Surveillance with Warrant)

       (dkt. no. 93)

       This motion seeks to suppress evidence of intercepted and recorded conversations on

several telephones. The affidavit submitted in support of the application for Title III electronic

interception amply set forth probable cause to believe that the target telephones were being used

by participants in a conspiracy to distribute illegal drugs and that interception would yield

evidence of the criminal activity. The affidavit further justified the interception as “necessary”

not only to gather evidence that could not otherwise reasonably be expected to be obtained by

other means, but also to support and corroborate evidence that was obtained otherwise. Finally,

the defendant’s objection that the warrants were unlawfully issued because the authorizing letters

from the Department of Justice omitted the signature of a particular official is frivolous. The

motion is DENIED.

IV.    Conclusion

       The defendant’s several motions to suppress are DENIED.

       It is SO ORDERED.



                                               /s/ George A. O’Toole, Jr.
                                             United States District Judge




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